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Bryan Quesenberry
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                                                                                                 J
Plaintiff/Relator
Pro Se



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



 UNITED STATES OF AMERICA, ex rd.                     COMPLAINT FOR VIOLATION OF
 BRYAN QUESENBERRY,                                     FEDERAL FALSE CLAIMS ACT


          Plaintiff,                                     (Filed in camera and under seal)
                                                         (DO NOT PLACE ON PACER)
 vs.

                                                           JURY TRIAL DEMANDED
 ACORN FINANCIAL ADVISORY
 SERVICES, INC.; ASSOCIATION &
 CONFERENCE GROUP, LLC; ATCS, PLC;
 BUILDING SERVICE MANAGEMENT,                                     Civil Action No.   i;iD cv
 INC.; HEMANT VAKHARIA; LOUDOUN                                                                  hy!-1
 INNOVATION, LLC; MARTIN LAWN &                                                                         jpfl
 LANDSCAPE, INC.; MSM VANTAGE
 CONSTRUCTION; PLAZA A2TECA
 BROAD, INC.; and ZEN SOLUTIONS,
 INC.,

          Defendants.




         Plaintiff-Relator Bryan Quesenberry, acting pro se, on behalf of the United States of

America (the "Government" or the "Federal Government") and against the above-named

Defendants, alleges based upon personal knowledge, relevant documents, information, and

belief, as follows.
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                                                                                       7. ».




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Plaintiff/Relator
ProSe'

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA



 UNITED STATES OF AMERICA,^rei.
 BRYAN QUESENBERRY,                                           LOCAL RULE 83.1(M)
                                                               CERTIFICATION
          Plaintiff,

 vs.

                                                                                                        ftSJ/
 ACORN FINANCIAL ADVISORY                                         Civil Action No. 1             '
                                                                                                          TFi}
 SERVICES,INC.; ASSOCIATION &
 CONFERENCE GROUP,LLC; ATCS,PLC;
 BUILDING SERVICE MANAGEMENT,
 INC.; HEMANT VAKHARIA;LOUDOUN
 INNOVATION,LLC; MARTIN LAWN &
 LANDSCAPE,INC.; MSM VANTAGE
 CONSTRUCTION;PLAZA AZTECA
 BROAD,INC.; and ZEN SOLUTIONS,
 INC.,

            Defendants.




         I declare under penalty of pequry that: No attorney has prepared, or assisted in the
 preparation ofthe Complaint,Ex Parte Motion to Place Under Seal, and Order(granting the
 motion).

 Dated: 9/12/2020                      RespectfdPy submitted.


                                       Bryan Qi^s^berry
                                       Plaintiffikel^tor
